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                     Responses Received:

                              •    United States Trustee’s Objection to Motion to Request Relief and
                                   Appointment of Official Committee of Equity Security Holders
                                   Submitted to this Court by “ML1” [Docket No. 3331].

                              •    Plan Administrator’s Opposition to Former and Canceled
                                   Shareholder’s Motion for Redaction of Certain Information and
                                   Appointment of Post-Effective Date Equity Security Holders
                                   Committee [Docket No. 3332].

                              •    Reply in Support of Shareholder’s Motion for Redaction of Certain
                                   Information and Appointment of Post-Effective Date Equity
                                   Security Holders Committee [Not Filed on Court Docket].

                              •    Plan Administrator’s Sur-Reply to Former and Canceled
                                   Shareholder’s Motion for Redaction of Certain Information and
                                   Appointment of Post-Effective Date Equity Security Holders
                                   Committee [Docket No. 3440].

                     Related Documents:

                              •    Order Establishing Procedures Relating to Shareholder’s Motions
                                   for Redaction of Certain Information and Appointment of Equity
                                   Security Holders Committee [Docket No. 3314].

                              •    Notice of Hearing [Docket No. 3315].

                     Status: This matter is going forward.

 Dated: August 6, 2024                            /s/ Bradford J. Sandler
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